             Case:19-18512-MER Doc#:1 Filed:10/01/19                                  Entered:10/01/19 13:25:57 Page1 of 64


Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF COLORADO

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Urgent Care Management Solutions, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Metro Urgent Care
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                                                                                  1660 North Higley Road
                                  3091 South Jamaica Court                                        Suite 103
                                  Aurora, CO 80014                                                Gilbert, AZ 85234
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Arapahoe                                                        Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.metrourgentcare.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
             Case:19-18512-MER Doc#:1 Filed:10/01/19                                        Entered:10/01/19 13:25:57 Page2 of 64
Debtor    Urgent Care Management Solutions, LLC                                                        Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     See Attachment                                                 Relationship
                                                  District                                When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
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Debtor   Urgent Care Management Solutions, LLC                                                     Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal       Yes.     Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)

                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?       Prescription Medication - Non-Controlled Substances
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).

                                                Other     HIPPA Compliance - Patient Records
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No

                                                Yes.    Insurance agency      Westbrook Insurance, Inc.
                                                        Contact name          Jackie Westbrook
                                                        Phone                 480-424-7271


         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.

                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    Urgent Care Management Solutions, LLC                                                    Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      October 1, 2019
                                                  MM / DD / YYYY


                             X   /s/ Brendon Lochert                                                      Brendon Lochert
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Manager




18. Signature of attorney    X   /s/ Jenny M.F. Fujii                                                      Date October 1, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Jenny M.F. Fujii 30091
                                 Printed name

                                 Kutner Brinen, P.C.
                                 Firm name

                                 1660 Lincoln Street, Suite 1850
                                 Denver, CO 80264
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     303-832-2400                  Email address      jmf@kutnerlaw.com

                                 30091 CO
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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Debtor     Urgent Care Management Solutions, LLC                                            Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF COLORADO

Case number (if known)                                                   Chapter      7
                                                                                                                        Check if this an
                                                                                                                        amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment



                                                                                                                     Wholly owned
Debtor     UCXTRA Services, LLC                                                    Relationship to you               subsidiary
District   Colorado                                   When                         Case number, if known

                                                                                                                     Wholly owned
Debtor     UCXTRA Umbrella Colorado, LLC                                           Relationship to you               subsidiary
District   Colorado                                   When                         Case number, if known




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    page 5
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 Fill in this information to identify the case:

 Debtor name         Urgent Care Management Solutions, LLC

 United States Bankruptcy Court for the:            DISTRICT OF COLORADO

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          October 1, 2019                         X /s/ Brendon Lochert
                                                                       Signature of individual signing on behalf of debtor

                                                                       Brendon Lochert
                                                                       Printed name

                                                                       Manager
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:

 Debtor name            Urgent Care Management Solutions, LLC

 United States Bankruptcy Court for the:                       DISTRICT OF COLORADO

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $                    0.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $                    0.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        8,721,187.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        5,148,993.15


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         13,870,180.15




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Fill in this information to identify the case:

 Debtor name         Urgent Care Management Solutions, LLC

 United States Bankruptcy Court for the:            DISTRICT OF COLORADO

 Case number (if known)
                                                                                                                             Check if this is an
                                                                                                                             amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                            12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
    All cash or cash equivalents owned or controlled by the debtor                                                           Current value of
                                                                                                                             debtor's interest

 Part 2:        Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.

                                                                                                     Valuation method used    Current value of
                                                                                                     for current value        debtor's interest

 14.       Mutual funds or publicly traded stocks not included in Part 1
           Name of fund or stock:

 15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
           partnership, or joint venture
           Name of entity:                                               % of ownership
                     100% interest in UCXTRA Services
           15.1.     Colorado, LLC                                                  100       %      Liquidation                                   $0.00



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 1
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 Debtor         Urgent Care Management Solutions, LLC                                         Case number (If known)
                Name


                     100% interest in UCXTRA Umbrella
            15.2.    Colorado, LLC                                                  100           %   Liquidation                               $0.00



 16.        Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
            Describe:


 17.        Total of Part 4.                                                                                                               $0.00
            Add lines 14 through 16. Copy the total to line 83.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.


 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of       Valuation method used   Current value of
                                                                              debtor's interest       for current value       debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets
            Trademark: "Hospitality meets healthcare"
            Registration Nos. 5, 371, 729                                                 Unknown                                         Unknown




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 2
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 Debtor         Urgent Care Management Solutions, LLC                                        Case number (If known)
                Name

 61.        Internet domain names and websites
            metrourgentcare.com                                                        Unknown       Liquidation                        Unknown



 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property

 65.        Goodwill
            Book value Goodwill                                                    $4,204,000.00     Recent cost                        Unknown



 66.        Total of Part 10.                                                                                                              $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 3
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 Debtor          Urgent Care Management Solutions, LLC                                                               Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                     $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                                      $0.00       + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                          $0.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 4
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 Fill in this information to identify the case:

 Debtor name         Urgent Care Management Solutions, LLC

 United States Bankruptcy Court for the:            DISTRICT OF COLORADO

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   Cedar Advance                                  Describe debtor's property that is subject to a lien                     Unknown                  Unknown
       Creditor's Name                                Accounts Receivable
       2917 Avenue I
       Brooklyn, NY 11210
       Creditor's mailing address                     Describe the lien
                                                      Security Agreement
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



       Complete Business
 2.2                                                                                                                           Unknown                  Unknown
       Solutions Group, Inc.                          Describe debtor's property that is subject to a lien
       Creditor's Name                                Accounts Receivable
       22 North 3rd Street
       Philadelphia, PA 19106
       Creditor's mailing address                     Describe the lien
                                                      Security Agreement
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply



Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 4
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 Debtor       Urgent Care Management Solutions, LLC                                                    Case number (if know)
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.3   Expermedical Group, LLC                        Describe debtor's property that is subject to a lien                 $8,700,000.00    Unknown
       Creditor's Name                                Accounts receivable, shares of UCMS
       8350 E. Raintree Dr.                           Approximate balance due
       Suite 135
       Scottsdale, AZ 85260
       Creditor's mailing address                     Describe the lien
                                                      Security Agreement
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                         Disputed




 2.4   Fast Capital 360                               Describe debtor's property that is subject to a lien                     $21,187.00   Unknown
       Creditor's Name                                Accounts Receivable
       a/k/a Forward Financing,
       LLC
       100 Summer Street
       Suite 1175
       Boston, MA 02110
       Creditor's mailing address                     Describe the lien
                                                      Security Agreement
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.5   Fox Capital Group, Inc.                        Describe debtor's property that is subject to a lien                     Unknown      Unknown
       Creditor's Name                                Accounts Receivable
       1001 North Federal
       Highway
       Hallandale, FL 33009
       Creditor's mailing address                     Describe the lien
                                                      Security Agreement


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page 2 of 4
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 Debtor       Urgent Care Management Solutions, LLC                                                    Case number (if know)
              Name

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                         Disputed




 2.6   High Speed Capital, LLC                        Describe debtor's property that is subject to a lien                     Unknown   Unknown
       Creditor's Name                                Accounts Receivable
       116 Nassau Street
       Suite 804
       New York, NY 10058
       Creditor's mailing address                     Describe the lien
                                                      Security Agreement
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.7   Libertas Funding, LLC                          Describe debtor's property that is subject to a lien                     Unknown   Unknown
       Creditor's Name                                Accounts Receivable
       382 Greenwich Avenue
       Suite 2
       Second Floor
       Greenwich, CT 06830
       Creditor's mailing address                     Describe the lien
                                                      Security Agreement
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 3 of 4
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 Debtor       Urgent Care Management Solutions, LLC                                                    Case number (if know)
              Name



 2.8    Queen Funding, LLC                            Describe debtor's property that is subject to a lien                       Unknown              Unknown
        Creditor's Name                               Accounts Receivable
        101 Chase Avenueu
        Suite 207
        Lakewood, NJ 08701
        Creditor's mailing address                    Describe the lien
                                                      Security Agreement
                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



                                                                                                                               $8,721,187.0
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                         0

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 4 of 4
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 Fill in this information to identify the case:

 Debtor name         Urgent Care Management Solutions, LLC

 United States Bankruptcy Court for the:            DISTRICT OF COLORADO

 Case number (if known)
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       Unknown           Unknown
           Ahmed, Halima                                             Check all that apply.
           779 South Memphis Way                                        Contingent
           Aurora, CO 80017                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       Unknown           Unknown
           Arizona Department of Revenue                             Check all that apply.
           1600 West Monroe Street                                      Contingent
           Phoenix, AZ 85007                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1 of 28
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 Debtor       Urgent Care Management Solutions, LLC                                                           Case number (if known)
              Name

 2.3      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Autrey, Sttaci                                             Check all that apply.
          2524 West 99th Place                                          Contingent
          Federal Heights, CO 80260                                     Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Ayandele, Teresa                                           Check all that apply.
          917 Trece Street                                              Contingent
          Louisville, CO 80027                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Barnett, Rashima                                           Check all that apply.
          3650 North Pennsylvania Street                                Contingent
          Apt. #52                                                      Unliquidated
          Englewood, CO 80113                                           Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Bloch, Jonathan                                            Check all that apply.
          2509 Dahlia Street                                            Contingent
          Denver, CO 80207                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 2 of 28
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 Debtor       Urgent Care Management Solutions, LLC                                                           Case number (if known)
              Name

 2.7      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Buford, Deborahh                                           Check all that apply.
          11801 York Street                                             Contingent
          Apt. #1527                                                    Unliquidated
          Thornton, CO 80233                                            Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.8      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          City and County of Broomfield                              Check all that apply.
          One DesCombes Drive                                           Contingent
          Broomfield, CO 80020                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.9      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          City and County of Denver                                  Check all that apply.
          Treasury Division                                             Contingent
          Wellington Webb Building                                      Unliquidated
          201 West Colfax Avenue,                                       Disputed
          Department 403
          Denver, CO 80202-5329
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.10     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          City of Aurora                                             Check all that apply.
          Cashier's Office                                              Contingent
          15151 East Alameda Parkway                                    Unliquidated
          Aurora, CO 80012                                              Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 3 of 28
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 Debtor       Urgent Care Management Solutions, LLC                                                           Case number (if known)
              Name

 2.11     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          City of Centennial                                         Check all that apply.
          13133 East Arapahoe Road                                      Contingent
          Centennial, CO 80112                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.12     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          City of Lakewood                                           Check all that apply.
          480 South Allison Parkway                                     Contingent
          Civic Center North                                            Unliquidated
          Lakewood, CO 80226                                            Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.13     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          City of Thornton                                           Check all that apply.
          Finance Department                                            Contingent
          Sales Tax Division                                            Unliquidated
          9500 Civic Center Drive                                       Disputed
          Thornton, CO 80229
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.14     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          City of Westminster                                        Check all that apply.
          P.O. Box 17040                                                Contingent
          Denver, CO 80217-0040                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




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 Debtor       Urgent Care Management Solutions, LLC                                                           Case number (if known)
              Name

 2.15     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Cofield, Khadijha                                          Check all that apply.
          12586 Albrok Drive                                            Contingent
          Apt. #3902                                                    Unliquidated
          Denver, CO 80239                                              Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.16     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Cofield, Shanice                                           Check all that apply.
          125858 Albrok Drive                                           Contingent
          Apt. #3902                                                    Unliquidated
          Denver, CO 80239                                              Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.17     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Coleman, Ashley                                            Check all that apply.
          310 Westwood Court                                            Contingent
          Boulder, CO 80304                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.18     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Day-Martinez, Laura                                        Check all that apply.
          2525 East 104th Avenue                                        Contingent
          Apt. #331                                                     Unliquidated
          Thornton, CO 80233                                            Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       Urgent Care Management Solutions, LLC                                                           Case number (if known)
              Name

 2.19     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Dhieux, Matthew                                            Check all that apply.
          9526 South Everett Way                                        Contingent
          Littleton, CO 80127                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.20     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Dickey, Thomas                                             Check all that apply.
          11405 Billings Avenue                                         Contingent
          Lafayette, CO 80026                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.21     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Doepker, Ashley                                            Check all that apply.
          2521 Moline Street                                            Contingent
          Aurora, CO 80010                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.22     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Duvall, Kirby                                              Check all that apply.
          3600 North County Road                                        Contingent
          #19                                                           Unliquidated
          Fort Collins, CO 80524                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       Urgent Care Management Solutions, LLC                                                           Case number (if known)
              Name

 2.23     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Eaton, Rick                                                Check all that apply.
          1616 South Xavier Street                                      Contingent
          Denver, CO 80219                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.24     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Fussnecker, Michelle                                       Check all that apply.
          1621 South Wolcott Court                                      Contingent
          Denver, CO 80219                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.25     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Glass, Michael                                             Check all that apply.
          13925 West Atlantic Avenue                                    Contingent
          Lakewood, CO 80228                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.26     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Godinez, Sandy                                             Check all that apply.
          6500 East 88th Avenue                                         Contingent
          Lot #286                                                      Unliquidated
          Henderson, CO 80640                                           Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       Urgent Care Management Solutions, LLC                                                           Case number (if known)
              Name

 2.27     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Grinde, Donna                                              Check all that apply.
          7165 Poplar Street                                            Contingent
          Apt. #12                                                      Unliquidated
          Commerce City, CO 80022                                       Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.28     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Guevel, Wendy                                              Check all that apply.
          9227 Roadrunner Drive                                         Contingent
          Highlands Ranch, CO 80129                                     Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.29     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Haapapuro, Kimberly                                        Check all that apply.
          6185 South Ivanhoe Street                                     Contingent
          Centennial, CO 80111                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.30     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Haddock, Shannon                                           Check all that apply.
          1152 Nucla Street                                             Contingent
          Aurora, CO 80011                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       Urgent Care Management Solutions, LLC                                                           Case number (if known)
              Name

 2.31     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Hammack, Richard                                           Check all that apply.
          3120 Eaton Street                                             Contingent
          Wheat Ridge, CO 80214                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.32     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Hanks, Tyrone                                              Check all that apply.
          924 North Constellation Way                                   Contingent
          Gilbert, AZ 85234                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.33     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Harfiield, Cassandra                                       Check all that apply.
          6310 Indian Paintbrush Street                                 Contingent
          Frederick, CO 80530                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.34     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Harth, Maurice                                             Check all that apply.
          11081 Huron Street                                            Contingent
          Unit #1005                                                    Unliquidated
          Northglenn, CO 80234                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       Urgent Care Management Solutions, LLC                                                           Case number (if known)
              Name

 2.35     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Hasan, Haneefah                                            Check all that apply.
          2187 Chaseford Lane                                           Contingent
          Powder Springs, GA 30127                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.36     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Hinostroza, Vilma                                          Check all that apply.
          3590 Magnolia Street                                          Contingent
          Denver, CO 80207                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.37     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Holguin, Aneattra                                          Check all that apply.
          9300 Palo Verde Street                                        Contingent
          Thornton, CO 80229                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.38     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Hubin, James                                               Check all that apply.
          10671 Quail Court                                             Contingent
          Westminster, CO 80021                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       Urgent Care Management Solutions, LLC                                                           Case number (if known)
              Name

 2.39     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Iniguez, Natalie                                           Check all that apply.
          3378 South Laredo Court                                       Contingent
          Aurora, CO 80013                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.40     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Janssen, Melissa                                           Check all that apply.
          39497 North Zampino Street                                    Contingent
          San Tan Valley, AZ 85140                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.41     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Jaramillo, Javier                                          Check all that apply.
          5535 Sunrise Mesa Drive                                       Contingent
          Colorado Springs, CO 80924                                    Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.42     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Jaurigui, Sara                                             Check all that apply.
          16965 East Temple Place                                       Contingent
          Aurora, CO 80015                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       Urgent Care Management Solutions, LLC                                                           Case number (if known)
              Name

 2.43     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Kahler, Melissa                                            Check all that apply.
          7825 Allison Way                                              Contingent
          #103                                                          Unliquidated
          Arvada, CO 80005                                              Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.44     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Keller, Patricia                                           Check all that apply.
          668 Polk River Place                                          Contingent
          Estes Park, CO 80517                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.45     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Keogh, Danielle                                            Check all that apply.
          2882 Ridge Drive                                              Contingent
          Broomfield, CO 80020                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.46     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Labrada, Vania                                             Check all that apply.
          6050 South Kenton Way                                         Contingent
          Englewood, CO 80111                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       Urgent Care Management Solutions, LLC                                                           Case number (if known)
              Name

 2.47     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Lynch, Jessica                                             Check all that apply.
          6363 Westview Circle                                          Contingent
          Parker, CO 80134                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.48     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Mauger, Christopher                                        Check all that apply.
          5299 South Jellison Street                                    Contingent
          Littleton, CO 80123                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.49     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          McArtor, Cara                                              Check all that apply.
          7875 Sunflower Green                                          Contingent
          Frederick, CO 80530                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.50     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Meltzer, Sherry                                            Check all that apply.
          10928 East Sebring Avenue                                     Contingent
          Mesa, AZ 85212                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       Urgent Care Management Solutions, LLC                                                           Case number (if known)
              Name

 2.51     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Merrill, Colin                                             Check all that apply.
          4260 East Odessa Drive                                        Contingent
          San Tan Valley, AZ 85140                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.52     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Mershon, Gillian                                           Check all that apply.
          8742 Flattop Street                                           Contingent
          Arvada, CO 80007                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.53     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Mershon, John                                              Check all that apply.
          8742 Flattop Street                                           Contingent
          Arvada, CO 80007                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.54     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Miller, Jeffrey                                            Check all that apply.
          8060 Kline Court                                              Contingent
          Arvada, CO 80005                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       Urgent Care Management Solutions, LLC                                                           Case number (if known)
              Name

 2.55     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Pyle, Kayla                                                Check all that apply.
          1001 East 62nd Avenue                                         Contingent
          Apt. #340                                                     Unliquidated
          Denver, CO 80216                                              Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.56     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Ramirez, Rene                                              Check all that apply.
          12605 East 104th Place                                        Contingent
          Commerce City, CO 80022                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.57     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Reza, Veronica                                             Check all that apply.
          761 Sherman Drive                                             Contingent
          Marshall, WI 53559                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.58     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Romero, Savanna                                            Check all that apply.
          3351 South Field Street                                       Contingent
          Apt. #171                                                     Unliquidated
          Lakewood, CO 80227                                            Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       Urgent Care Management Solutions, LLC                                                           Case number (if known)
              Name

 2.59     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Roper, Carol                                               Check all that apply.
          707 Rocky Road                                                Contingent
          Fort Collins, CO 80521                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.60     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Ruloph, Elizabeth                                          Check all that apply.
          1190 South Dover Street                                       Contingent
          Lakewood, CO 80232                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.61     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Salter, Wallace                                            Check all that apply.
          P.O. Box 396                                                  Contingent
          Indian Hills, CO 80454                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.62     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Sandoval, Linda                                            Check all that apply.
          16034 East 107th Place                                        Contingent
          Commerce City, CO 80022                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       Urgent Care Management Solutions, LLC                                                           Case number (if known)
              Name

 2.63     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Stevens, Dennis                                            Check all that apply.
          658 South Dudley Street                                       Contingent
          Lakewood, CO 80226                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.64     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Stevens, Stephanie                                         Check all that apply.
          395 West Burgundy Street                                      Contingent
          #1828                                                         Unliquidated
          Littleton, CO 80129                                           Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.65     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Sudmeier, Maryann                                          Check all that apply.
          9306 West 67th Place                                          Contingent
          Arvada, CO 80004                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.66     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Tatarenko, Brian                                           Check all that apply.
          17126 East Rosebay Circle                                     Contingent
          Parker, CO 80134                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       Urgent Care Management Solutions, LLC                                                           Case number (if known)
              Name

 2.67     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Thomas-Fox, Jennifer                                       Check all that apply.
          8817 Morton Road                                              Contingent
          Niwot, CO 80503                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.68     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Thompson, Rashell                                          Check all that apply.
          3832 South Loback Lane                                        Contingent
          Gilbert, AZ 85297                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.69     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Thorpe, Chelsea                                            Check all that apply.
          8248 Estes Court                                              Contingent
          Arvada, CO 80005                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.70     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Trey, Inna                                                 Check all that apply.
          15033 East Maplewood Drive                                    Contingent
          Centennial, CO 80016                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor        Urgent Care Management Solutions, LLC                                                          Case number (if known)
               Name

 2.71       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                                       Unknown    Unknown
            Vizier, Jr., Dane                                        Check all that apply.
            2814 Ridge View Circle                                      Contingent
            Unit B                                                      Unliquidated
            Erie, CO 80516                                              Disputed

            Date or dates debt was incurred                          Basis for the claim:


            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                         No
            unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes



 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
        3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
           out and attach the Additional Page of Part 2.
                                                                                                                                                        Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  Unknown
           1190 Birch Street, LLC                                                      Contingent
           1230 South Clayton Street                                                   Unliquidated
           Denver, CO 80210-2015                                                       Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $2,862.28
           1660 North Higley Trust Account                                             Contingent
                                                                                       Unliquidated
           Date(s) debt was incurred                                                   Disputed
           Last 4 digits of account number                                         Basis for the claim:

                                                                                   Is the claim subject to offset?     No       Yes

 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  Unknown
           6450 West 120th Avenue LLC                                                  Contingent
           Pinnacle Real Estate                                                        Unliquidated
           200 Lipan Street                                                            Disputed
           Denver, CO 80223
                                                                                   Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                         Is the claim subject to offset?     No       Yes


 3.4       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  Unknown
           7617 Note, LLC                                                              Contingent
           c/o Brown and Associates                                                    Unliquidated
           7687 West 88th Avenue                                                       Disputed
           Arvada, CO 80005
                                                                                   Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                         Is the claim subject to offset?     No       Yes


 3.5       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  Unknown
           ADLP-L&M, LLC                                                               Contingent
           P.O. Box 915072                                                             Unliquidated
           Dallas, TX 75391-5072                                                       Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes




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 Debtor       Urgent Care Management Solutions, LLC                                                   Case number (if known)
              Name

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Allan J. Brody                                                        Contingent
          1153 West Railroad Avenue                                             Unliquidated
          Cotati, CA 94931                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          ANB Bank                                                              Contingent
          3033 East 1st Avenue                                                  Unliquidated
          Denver, CO 80206                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Aurora Parker LLC                                                     Contingent
          1401 Broad Street                                                     Unliquidated
          Clifton, NJ 07013                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,380.00
          Big T Branding, LLC                                                   Contingent
          2080 North Highway 36                                                 Unliquidated
          Suite 425                                                             Disputed
          Grand Prairie, TX 75050
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Bio-Med Service Group, Inc.                                           Contingent
          15491 Riverdale Road                                                  Unliquidated
          Brighton, CO 80602                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $680,000.00
          Brendon Lochert                                                       Contingent
          14747 N Northsight Blvd.                                              Unliquidated
          Suite 111-464                                                         Disputed
          Scottsdale, AZ 85260
                                                                             Basis for the claim:    Convertible promissory notes
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Broadlands Station, LLC                                               Contingent
          33340 Collection Center Drive                                         Unliquidated
          Chicago, IL 60693-0333                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Urgent Care Management Solutions, LLC                                                   Case number (if known)
              Name

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Cadence Development, LLC                                              Contingent
          6400 South Fiddlers Green Circle                                      Unliquidated
          Suite 1820                                                            Disputed
          Greenwood Village, CO 80111
                                                                                            Lease
                                                                             Basis for the claim:
          Date(s) debt was incurred
                                                                             74th and Federal
          Last 4 digits of account number                                    Westminster, Colorado
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Case Huff & Associates                                                Contingent
          14861 North Scottsdale Road                                           Unliquidated
          Suite 105                                                             Disputed
          Scottsdale, AZ 85254
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Chase Bank                                                            Contingent
          892 N Highley Rd.                                                     Unliquidated
          Gilbert, AZ 85234                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Overdraft
          Last 4 digits of account number       3207
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $46,051.04
          Chase Bank                                                            Contingent
          892 N Highley Rd.                                                     Unliquidated
          Gilbert, AZ 85234                                                     Disputed
          Date(s) debt was incurred  Various                                 Basis for the claim:    Credit card
          Last 4 digits of account number 2717
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,260.89
          Cox Business                                                          Contingent
          P.O. Box 53249                                                        Unliquidated
          Phoenix, AZ 85072-3249                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $31.20
          CTS Language Link
          Accounts Payable                                                      Contingent
          701 NE 136th Avenue                                                   Unliquidated
          Suite 200                                                             Disputed
          Vancouver, WA 98684
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Dartmouth Point, LLC
          c/o KEW Realty Corporation                                            Contingent
          300 South Jackson Street                                              Unliquidated
          Suite 550                                                             Disputed
          Denver, CO 80209
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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              Name

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,782.92
          David Buterbaugh P.C.                                                 Contingent
          8040 East Morgan Trail                                                Unliquidated
          Suite 15                                                              Disputed
          Scottsdale, AZ 85258
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $128.58
          Dropbox, Inc.                                                         Contingent
          333 Brannan Street                                                    Unliquidated
          San Francisco, CA 94107                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $59.90
          Faxage                                                                Contingent
          313 Inverness Way South                                               Unliquidated
          Suite 110                                                             Disputed
          Englewood, CO 80112
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,044.13
          Federal Express                                                       Contingent
          P.O. Box 10306                                                        Unliquidated
          Palatine, IL 60055-0306                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $825.03
          Georgia Smith                                                         Contingent
          815 40th Avenue South                                                 Unliquidated
          Suite C132                                                            Disputed
          Grand Forks, ND 58201
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Greg Grinter                                                          Contingent
          7621 State Route 143                                                  Unliquidated
          Edwardsville, IL 62025                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $852.00
          Humanity.com, Inc.                                                    Contingent
          50 Osgood Place                                                       Unliquidated
          Suite 330                                                             Disputed
          San Francisco, CA 94133
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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              Name

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Industrial Commission of Arizona                                      Contingent
          Labor Department                                                      Unliquidated
          P.O. Box 19070                                                        Disputed
          Phoenix, AZ 85005-9070
                                                                             Basis for the claim:    Notice of Wage Claim
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $643.56
          Iron Mountain                                                         Contingent
          4449 South 36th Street                                                Unliquidated
          Phoenix, AZ 85040                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $150,000.00
          Irrevocable Education Trust Agreement
          Dated September 18, 2008                                              Contingent
          c/o Jonathan Frutkin, Principal                                       Unliquidated
          15205 N. Kierland Blvd. #200                                          Disputed
          Scottsdale, AZ 85254
                                                                             Basis for the claim:    Convertible promissory note
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $200,000.00
          Irrevocable Family Trust Agreement Dated
          September 18, 2008                                                    Contingent
          c/o Jonathan Frutkin, Principal                                       Unliquidated
          15205 N. Kierland Blvd. #200                                          Disputed
          Scottsdale, AZ 85254
                                                                             Basis for the claim:    Convertible Promissory Note
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $300,000.00
          Irrevocable Trust Agt. for the Benefit
          of Christine N. Garnett Dated 9/18/2008                               Contingent
          c/o Jonathan Frutkin, Principal                                       Unliquidated
          15205 N. Kierland Blvd. #200                                          Disputed
          Scottsdale, AZ 85254
                                                                             Basis for the claim:    Convertible promissory note
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $200,000.00
          Irrevocable Trust Agt. for the Benefit
          of Harold E. Eckholm Jr. Dated 9/18/2008                              Contingent
          c/o Jonathan Frutkin, Principal                                       Unliquidated
          15205 N. Kierland Blvd. #200                                          Disputed
          Scottsdale, AZ 85254
                                                                             Basis for the claim:    Convertible promisory note
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $300,000.00
          Irrevocable Trust Agt. for the Benefit
          of William T. Eckholm Dated 9/18/2008                                 Contingent
          c/o Jonathan Frutkin, Principal                                       Unliquidated
          15205 N. Kierland Blvd. #200                                          Disputed
          Scottsdale, AZ 85254
                                                                             Basis for the claim:    Convertible promissory note
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $300,000.00
          Irrvocable Trust Agt. for the Benefit of
          Barbara J. Starr Dated Sept. 18, 2008                                 Contingent
          c/o Jonathan Frutkin, Principal                                       Unliquidated
          15205 N. Kierland Blvd. #200                                          Disputed
          Scottsdale, AZ 85254
                                                                             Basis for the claim:    Convertible promissory note
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Lakewood Colfax LLC                                                   Contingent
          1401 Broad Street                                                     Unliquidated
          Clifton, NJ 07013                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Landance, LLC                                                         Contingent
          P.O. Box 9782                                                         Unliquidated
          ATTN: Carolyn Imbire                                                  Disputed
          Phoenix, AZ 85068
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          LG Colfax by Capitol, LLC                                             Contingent
          3500 Maple Avenue                                                     Unliquidated
          suite 1600                                                            Disputed
          Dallas, TX 75219
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,276.25
          Liberty Mutual Insurance                                              Contingent
          379 West Main Street                                                  Unliquidated
          Waukesha, WI 53186-4613                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          M and R Property Management, LLC                                      Contingent
          4275 West 107th Drive                                                 Unliquidated
          Westminster, CO 80031                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $466.01
          Microsoft Corporation                                                 Contingent
          One Microsoft Way                                                     Unliquidated
          Redmond, WA 98052                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          North Bear Meadows, LLC                                               Contingent
          c/o Alpine Property Services                                          Unliquidated
          P.O. Box 1271                                                         Disputed
          Ketchum, ID 83440
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $60.00
          Parasec                                                               Contingent
          2804 Gateway Oaks Drive                                               Unliquidated
          Suite 100                                                             Disputed
          Sacramento, CA 95833-3000
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $32,000.00
          Pendulum Partners, Inc.                                               Contingent
          10635 NE 8th Street
                                                                                Unliquidated
          Suite 201
          Bellevue, WA 98004                                                    Disputed

          Date(s) debt was incurred July 2019                                Basis for the claim:    Management services
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $360.00
          RC Precision Installations, Inc.                                      Contingent
          5764 North Lamar Street                                               Unliquidated
          Arvada, CO 80002                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Sharon McNamara                                                       Contingent
          1720 Kearny Street                                                    Unliquidated
          Petaluma, CA 94954                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,699.00
          Smith & 7                                                             Contingent
          700 Abruzzi Drive                                                     Unliquidated
          Suite 407                                                             Disputed
          Chester, MD 21619
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $40,000.00
          Snell & Wilmer, LLP                                                   Contingent
          400 East Van Buren Street                                             Unliquidated
          Suite 1900                                                            Disputed
          Phoenix, AZ 85004
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $32.18
          Sparkletts                                                            Contingent
          P.O. Box 660579                                                       Unliquidated
          Dallas, TX 75266-0579                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $315.68
          Staples Advantage                                                     Contingent
          500 Staples Drive                                                     Unliquidated
          Framingham, MA 01702                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $304.00
          Storquest                                                             Contingent
          2805 West Frye Road                                                   Unliquidated
          Chandler, AZ 85224                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $2,487,000.00
          The Kobold Group                                                      Contingent
          14747 N. Northsight Blvd.                                             Unliquidated
          Suite 111-464                                                         Disputed
          Scottsdale, AZ 85260
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          The Kobold Group, LLC                                                 Contingent
          8350 East Raintree Drive                                              Unliquidated
          Suite 130                                                             Disputed
          Scottsdale, AZ 85260
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          The Kobold Group, LLC                                                 Contingent
          8350 East Raintree Drive                                              Unliquidated
          Suite 130                                                             Disputed
          Scottsdale, AZ 85260
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.54      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              Unknown
           THKF Holdings 1, LLC                                                 Contingent
           909 Electric Avenue                                                  Unliquidated
           Suite 214                                                            Disputed
           Seal Beach, CA 90740
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?         No    Yes


 3.55      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $6,300.00
           Trevor Cole Commercial Co of Ct., Inc.                               Contingent
           641 Lexington Avenue                                                 Unliquidated
           New York, NY 10022                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?         No    Yes

 3.56      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $171,000.00
           Trevor Jones                                                         Contingent
           13603 Marina Pointe Drive                                            Unliquidated
           Unit D424                                                            Disputed
           Marina Del Rey, CA 90292
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?         No    Yes


 3.57      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $188,402.50
           United Healthcare                                                    Contingent
           UHS Premium Building                                                 Unliquidated
           P.O. Box 94017                                                       Disputed
           Palatine, IL 60094-4017
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?         No    Yes


 3.58      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $14,856.00
           Weiss Brown                                                          Contingent
           6263 North Scottsdale Road                                           Unliquidated
           #340                                                                 Disputed
           Scottsdale, AZ 85250
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?         No    Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the      Last 4 digits of
                                                                                                      related creditor (if any) listed?            account number, if
                                                                                                                                                   any
 4.1       Elizabeth K. Olson, Esq.
           Hall and Evans                                                                             Line     3.12
           1001 17th Street
                                                                                                             Not listed. Explain
           Suite 300
           Denver, CO 80202

 4.2       Robinson Waters and O'Dorisio
           1099 18th Street                                                                           Line     3.4
           Suite 2600
                                                                                                             Not listed. Explain
           Denver, CO 80202



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 27 of 28
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 Debtor       Urgent Care Management Solutions, LLC                                               Case number (if known)
              Name

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                  Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.       $                          0.00
 5b. Total claims from Part 2                                                                       5b.   +   $                  5,148,993.15

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.       $                    5,148,993.15




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 28 of 28
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 Fill in this information to identify the case:

 Debtor name         Urgent Care Management Solutions, LLC

 United States Bankruptcy Court for the:            DISTRICT OF COLORADO

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1.        State what the contract or                   3890 Quebec Street
             lease is for and the nature of               Denver, Colorado
             the debtor's interest

                  State the term remaining
                                                                                     1190 Birch Street, LLC
             List the contract number of any                                         1230 South Clayton Street
                   government contract                                               Denver, CO 80210-2015


 2.2.        State what the contract or                   6450 West 120th
             lease is for and the nature of               Avenue
             the debtor's interest                        Broomfield, Colorado

                  State the term remaining                                           6450 West 120th Avenue LLC
                                                                                     Pinnacle Real Estate
             List the contract number of any                                         200 Lipan Street
                   government contract                                               Denver, CO 80223


 2.3.        State what the contract or                   297 North US Highway
             lease is for and the nature of               287
             the debtor's interest                        Lafayette, Colorado

                  State the term remaining                                           7617 Note, LLC
                                                                                     c/o Brown and Associates
             List the contract number of any                                         7687 West 88th Avenue
                   government contract                                               Arvada, CO 80005


 2.4.        State what the contract or                   850 South Monaco
             lease is for and the nature of               Parkway
             the debtor's interest                        Suite #10/11
                                                          Denver, Colorado
                  State the term remaining
                                                                                     ADLP-L&M, LLC
             List the contract number of any                                         P.O. Box 915072
                   government contract                                               Dallas, TX 75391-5072




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 5
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         Case:19-18512-MER Doc#:1 Filed:10/01/19                                       Entered:10/01/19 13:25:57 Page45 of 64
 Debtor 1 Urgent Care Management Solutions, LLC                                                Case number (if known)
              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.5.        State what the contract or                   7320 Federeal Blvd.
             lease is for and the nature of               Westminster, Colorado
             the debtor's interest

                  State the term remaining
                                                                                       Allan J. Brody
             List the contract number of any                                           1153 West Railroad Avenue
                   government contract                                                 Cotati, CA 94931


 2.6.        State what the contract or                   2241 East Arapahoe
             lease is for and the nature of               Road
             the debtor's interest                        Centennial, Colorado

                                                          Ground Lessor:
                                                          Floyd C. Hannah III
                                                          Trust
                                                          Guarantor: LJ6, LLP
                                                          c/o Bank First
                                                          ATTN: Andrea Metcal
                                                          P.O. Box 680
                                                          Tulsa, OK 74101-0680
                  State the term remaining                September 2029
                                                                                       ANB Bank
             List the contract number of any                                           3033 East 1st Avenue
                   government contract                                                 Denver, CO 80206


 2.7.        State what the contract or                   6482 South Parker
             lease is for and the nature of               Road
             the debtor's interest                        Aurora, Colorado

                  State the term remaining
                                                                                       Aurora Parker LLC
             List the contract number of any                                           1401 Broad Street
                   government contract                                                 Clifton, NJ 07013


 2.8.        State what the contract or                   3950 West 144th Street
             lease is for and the nature of               Broomfield, Colorado
             the debtor's interest

                  State the term remaining                September 2026
                                                                                       Broadlands Station, LLC
             List the contract number of any                                           33340 Collection Center Drive
                   government contract                                                 Chicago, IL 60693-0333


 2.9.        State what the contract or                   1660 North Higley Road
             lease is for and the nature of               Suite 103
             the debtor's interest                        Gilbert, AZ 85234

                  State the term remaining                                             Case Huff & Associates
                                                                                       14861 North Scottsdale Road
             List the contract number of any                                           Suite 105
                   government contract                                                 Scottsdale, AZ 85254

Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                      Page 2 of 5
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 Debtor 1 Urgent Care Management Solutions, LLC                                              Case number (if known)
              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease


 2.10.       State what the contract or                   3091 South Jamaica
             lease is for and the nature of               Court
             the debtor's interest                        Suite 200
                                                          Denver, Colorado
                  State the term remaining                June 2020                  Dartmouth Point, LLC
                                                                                     c/o KEW Realty Corporation
             List the contract number of any                                         300 South Jackson Street, Suite 550
                   government contract                                               Denver, CO 80209


 2.11.       State what the contract or                   Pledge Agreement
             lease is for and the nature of               Secured by shares of
             the debtor's interest                        UCXTRA Services
                                                          Colorado, LLC and
                                                          UCXTRA Umbrella, LLC
                  State the term remaining
                                                                                     Expermedical Group, LLC
             List the contract number of any                                         8350 E. Raintree Dr. #135
                   government contract                                               Scottsdale, AZ 85260


 2.12.       State what the contract or                   7460 South Gartrell
             lease is for and the nature of               Road
             the debtor's interest                        Aurora, Colorado

                  State the term remaining
                                                                                     Greg Grinter
             List the contract number of any                                         7621 State Route 143
                   government contract                                               Edwardsville, IL 62025


 2.13.       State what the contract or                   ADLP CHS AmCap, Inc.
             lease is for and the nature of               1281 East Main Street
             the debtor's interest                        Stamford, CT 06902

                  State the term remaining                                           Guarantor LJ6
                                                                                     1635 North Greenfield Road
             List the contract number of any                                         Suite 126
                   government contract                                               Mesa, AZ 85206


 2.14.       State what the contract or                   10590 West Colfax
             lease is for and the nature of               Avenue
             the debtor's interest                        Lakewood, Colorado

                  State the term remaining
                                                                                     Lakewood Colfax LLC
             List the contract number of any                                         1401 Broad Street
                   government contract                                               Clifton, NJ 07013


 2.15.       State what the contract or                   500 West Hampden
             lease is for and the nature of               Avenue                     Landance LLC
             the debtor's interest                        Englewood, Colorado        P.O. Box 9782
                                                                                     ATTN: Carolyn Imbrie
                  State the term remaining                December 2026              Phoenix, AZ 85068
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                    Page 3 of 5
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 Debtor 1 Urgent Care Management Solutions, LLC                                               Case number (if known)
              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease


             List the contract number of any
                   government contract


 2.16.       State what the contract or                   534 East Colfax Avenue
             lease is for and the nature of               Denver, Colorado
             the debtor's interest

                  State the term remaining                                            LG Colfax by Capitol, LLC
                                                                                      3500 Maple Avenue
             List the contract number of any                                          Suite 1600
                   government contract                                                Dallas, TX 75219


 2.17.       State what the contract or                   9960 North Wadsworth
             lease is for and the nature of               Parkway - Guarantor::
             the debtor's interest                        LJ6, LP
                                                          Suite 100
                                                          Westminster, Colorado
                  State the term remaining                2026
                                                                                      M and R Property Management, LLC
             List the contract number of any                                          4275 West 107th Drive
                   government contract                                                Westminster, CO 80031


 2.18.       State what the contract or                   2595 South Lewis Way
             lease is for and the nature of               Lakewood, Colorado
             the debtor's interest

                  State the term remaining                2026                        North Bear Meadows, LLC
                                                                                      c/o Alpine Property Services
             List the contract number of any                                          P.O. Box 1271
                   government contract                                                Ketchum, ID 83440


 2.19.       State what the contract or                   Consulting Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                unknown                     Pendulum Management Company, LLC
                                                                                      350 106th Ave NE, Second Fl.
             List the contract number of any                                          Attn: Ryan Neal
                   government contract                                                Bellevue, WA 98004


 2.20.       State what the contract or
             lease is for and the nature of
             the debtor's interest
                                                                                      Quebec Square Shops
                  State the term remaining                                            Pointe I, LLC
                                                                                      5750 DTC Parkway
             List the contract number of any                                          Suite 210
                   government contract                                                Greenwood Village, CO 80111




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                     Page 4 of 5
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 Debtor 1 Urgent Care Management Solutions, LLC                                              Case number (if known)
              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.21.       State what the contract or                   1281 Main Street
             lease is for and the nature of               Windsor, Colorado
             the debtor's interest

                  State the term remaining
                                                                                     Sharon McNamara
             List the contract number of any                                         1720 Kearny Street
                   government contract                                               Petaluma, CA 94954


 2.22.       State what the contract or                   7595 West Colfax
             lease is for and the nature of               Avenue
             the debtor's interest                        Lakewood, Colorado

                  State the term remaining                                           The Kobold Group, LLC
                                                                                     8350 East Raintree Drive
             List the contract number of any                                         Suite 130
                   government contract                                               Scottsdale, AZ 85260


 2.23.       State what the contract or                   6480 North Academy
             lease is for and the nature of               Blvd.
             the debtor's interest                        Colorado Springs,
                                                          Colorado

                                                          Guarantor: LJ6
                  State the term remaining                2028                       The Kobold Group, LLC
                                                                                     8350 East Raintree Drive
             List the contract number of any                                         Suite 130
                   government contract                                               Scottsdale, AZ 85260


 2.24.       State what the contract or                   9932 South Twenty Mile
             lease is for and the nature of               Road
             the debtor's interest                        Parker, Colorado

                  State the term remaining                                           THKF Holdings I, LLC
                                                                                     909 Electric Avenue
             List the contract number of any                                         Suite 214
                   government contract                                               Seal Beach, CA 90740




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                    Page 5 of 5
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 Fill in this information to identify the case:

 Debtor name         Urgent Care Management Solutions, LLC

 United States Bankruptcy Court for the:            DISTRICT OF COLORADO

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      BAMFS                             14747 North Northsight Blvd.                      Libertas Funding,                  D   2.7
             Enterprises, LLC                  Suite 111-464                                     LLC                                E/F
                                               Scottsdale, AZ 85260
                                                                                                                                    G




    2.2      BD2 Companies,                    14747 North Northsight Blvd.                      Libertas Funding,                  D   2.7
             LLC                               Suite 111-464                                     LLC                                E/F
                                               Scottsdale, AZ 85260
                                                                                                                                    G




    2.3      Brendon Lochert                   14747 North Northsight Blvd.                      Expermedical Group,                D   2.3
                                               Suite 111-464                                     LLC                                E/F
                                               Scottsdale, AZ 85260
                                                                                                                                    G




    2.4      Brendon Lochert                   14747 North Northsight Blvd.                      Fast Capital 360                   D   2.4
                                               Suite 111-464                                                                        E/F
                                               Scottsdale, AZ 85260
                                                                                                                                    G




Official Form 206H                                                         Schedule H: Your Codebtors                                         Page 1 of 5
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 Debtor       Urgent Care Management Solutions, LLC                                    Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.5      Brendon Lochert                   14747 North Northsight Blvd.                 Complete Business               D   2.2
                                               Suite 111-464                                Solutions Group, Inc.           E/F
                                               Scottsdale, AZ 85260
                                                                                                                            G




    2.6      Brendon Lochert                   14747 North Northsight Blvd.                 Fox Capital Group,              D   2.5
                                               Suite 111-464                                Inc.                            E/F
                                               Scottsdale, AZ 85260
                                                                                                                            G




    2.7      Brendon Lochert                   14747 North Northsight Blvd.                 High Speed Capital,             D   2.6
                                               Suite 111-464                                LLC                             E/F
                                               Scottsdale, AZ 85260
                                                                                                                            G




    2.8      Brendon Lochert                   14747 North Northsight Blvd.                 Queen Funding, LLC              D   2.8
                                               Suite 111-464                                                                E/F
                                               Scottsdale, AZ 85260
                                                                                                                            G




    2.9      Brendon Lochert                   14747 North Northsight Blvd.                 Cedar Advance                   D   2.1
                                               Suite 111-464                                                                E/F
                                               Scottsdale, AZ 85260
                                                                                                                            G




    2.10     Brendon Lochert                                                                Chase Bank                      D
                                                                                                                            E/F       3.16
                                                                                                                            G




    2.11     Brenton Scott,                    14747 North Northsight Blvd.                 Libertas Funding,               D   2.7
             LLC                               Suite 111-464                                LLC                             E/F
                                               Scottsdale, AZ 85260
                                                                                                                            G




Official Form 206H                                                      Schedule H: Your Codebtors                                    Page 2 of 5
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 Debtor       Urgent Care Management Solutions, LLC                                       Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.12     Brenton Smith                     8350 E. Raintree Dr. #130                       Expermedical Group,          D   2.3
                                               Scottsdale, AZ 85260                            LLC                          E/F
                                                                                                                            G




    2.13     Brenton Smith                     14747 North Northsight Blvd.                    Fast Capital 360             D   2.4
                                               Suite 111-464                                                                E/F
                                               Scottsdale, AZ 85260
                                                                                                                            G




    2.14     Brenton Smith                     14747 North Northsight Blvd.                    Complete Business            D   2.2
                                               Suite 111-464                                   Solutions Group, Inc.        E/F
                                               Scottsdale, AZ 85260
                                                                                                                            G




    2.15     Brenton Smith                     14747 North Northsight Blvd.                    Fox Capital Group,           D   2.5
                                               Suite 111-464                                   Inc.                         E/F
                                               Scottsdale, AZ 85260
                                                                                                                            G




    2.16     Brenton Smith                     14747 North Northsight Blvd.                    High Speed Capital,          D   2.6
                                               Suite 111-464                                   LLC                          E/F
                                               Scottsdale, AZ 85260
                                                                                                                            G




    2.17     UCXTRA                            3091 South Jamaica Court                        Fast Capital 360             D   2.4
             Services                          Aurora, CO 80014                                                             E/F
             Colorado LLC
                                                                                                                            G




    2.18     UCXTRA                            3091 South Jamaica Court                        High Speed Capital,          D   2.6
             Services                          Aurora, CO 80014                                LLC                          E/F
             Colorado LLC
                                                                                                                            G




Official Form 206H                                                         Schedule H: Your Codebtors                              Page 3 of 5
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 Debtor       Urgent Care Management Solutions, LLC                                      Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.19     UCXTRA                            3091 South Jamaica Court                       Queen Funding, LLC            D   2.8
             Services                          Aurora, CO 80014                                                             E/F
             Colorado LLC
                                                                                                                            G




    2.20     UCXTRA                            3091 South Jamaica Court                       Cedar Advance                 D   2.1
             Services                          Aurora, CO 80014                                                             E/F
             Colorado LLC
                                                                                                                            G




    2.21     UCXTRA                            3091 South Jamaica Court                       Fast Capital 360              D   2.4
             Umbrella                          Aurora, CO 80014                                                             E/F
             Colorado LLC
                                                                                                                            G




    2.22     UCXTRA                            3091 South Jamaica Court                       High Speed Capital,           D   2.6
             Umbrella                          Aurora, CO 80014                               LLC                           E/F
             Colorado LLC
                                                                                                                            G




    2.23     UCXTRA                            3091 South Jamaica Court                       Queen Funding, LLC            D   2.8
             Umbrella                          Aurora, CO 80014                                                             E/F
             Colorado LLC
                                                                                                                            G




    2.24     UCXTRA                            3091 South Jamaica Court                       Cedar Advance                 D   2.1
             Umbrella                          Scottsdale, AZ 85260                                                         E/F
             Colorado LLC
                                                                                                                            G




    2.25     Confluent                         2240 Blake Street                              Lakewood Colfax               D
             Development,                      Suite 200                                      LLC                           E/F
             LLC                               Denver, CO 80205
                                                                                                                            G   2.14




    2.26     Guarantor: LJ6                    1635 North Greenfield Road                     Dartmouth Point, LLC          D
                                               Suite 126                                                                    E/F
                                               Mesa, AZ 85206
                                                                                                                            G   2.10




Official Form 206H                                                        Schedule H: Your Codebtors                               Page 4 of 5
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 Debtor       Urgent Care Management Solutions, LLC                                      Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.27     LJ6                               1250 Clearview Avenue                          Landance LLC                  D
                                               Suite 100                                                                    E/F
                                               Mesa, AZ 85209
                                                                                                                            G   2.15




    2.28     North Bear SPE,                   c/o Sperry Equities, LLC                       North Bear Meadows,           D
             LLC                               (California LLC)                               LLC                           E/F
                                                                                                                            G   2.18




    2.29     Phillips Edison &                 11501 Northlake Drive                          Broadlands Station,           D
             Co.                               Cincinnati, OH 45249                           LLC                           E/F
                                                                                                                            G   2.8




Official Form 206H                                                        Schedule H: Your Codebtors                               Page 5 of 5
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 Fill in this information to identify the case:

 Debtor name         Urgent Care Management Solutions, LLC

 United States Bankruptcy Court for the:            DISTRICT OF COLORADO

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                 04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                  Gross revenue
       which may be a calendar year                                                            Check all that apply                (before deductions and
                                                                                                                                   exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                                  $0.00
       From 1/01/2019 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                                  $0.00
       From 1/01/2018 to 12/31/2018
                                                                                                   Other


       For year before that:                                                                       Operating a business                                  $0.00
       From 1/01/2017 to 12/31/2017
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue   Gross revenue from
                                                                                                                                   each source
                                                                                                                                   (before deductions and
                                                                                                                                   exclusions)

       From the beginning of the fiscal year to filing date:                                   Debtor receives funds from
       From 1/01/2019 to Filing Date                                                           its wholly owned subsidiary,
                                                                                               UCXTRA Services, LLC                              Unknown


 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             page 1
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           Case:19-18512-MER Doc#:1 Filed:10/01/19                                           Entered:10/01/19 13:25:57 Page55 of 64
 Debtor       Urgent Care Management Solutions, LLC                                                     Case number (if known)




           None.

       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               See attached Exhibit.                                                                          Unknown                 Secured debt
                                                                                                                                      Unsecured loan repayments
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other


       3.2.
               Various                                                     Various                            Unknown                 Secured debt
                                                                                                                                      Unsecured loan repayments
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                   Other Rocky Mountain
                                                                                                                                 Physicians Group would pay
                                                                                                                                 some of the Debtor's
                                                                                                                                 expnses/debt directly. See
                                                                                                                                 RMPG bank statements.


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                   Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                   Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                 Status of case
               Case number                                                                  address

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               Case title                                        Nature of case               Court or agency's name and             Status of case
               Case number                                                                    address
       7.1.    Broadlands Station, LLC v.                                                     Broomfield County District                  Pending
               Urgent Care Management                                                         Court                                       On appeal
               Solutions, LLC                                                                 Broomfield, CO
                                                                                                                                          Concluded
               2019-CV-030138

       7.2.    THKF Holdings I, LLC v.                           Breach of                    Douglas County District                     Pending
               UCMS, et al.                                      Contracct                    Court                                       On appeal
               2018-CV-30496                                                                  Castle Rock, CO 80104
                                                                                                                                          Concluded


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions                  Dates given                            Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss             Value of property
       how the loss occurred                                                                                                                                       lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.




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                Who was paid or who received                         If not money, describe any property transferred           Dates            Total amount or
                the transfer?                                                                                                                            value
                Address
       11.1.                                                                                                                   August 14,
                                                                                                                               2019:
                Kutner Brinen, P.C.                                                                                            $5,000
                1660 Lincoln Street                                                                                            September
                Suite 1850                                                                                                     24, 2019:
                Denver, CO 80264                                     $5,000 plus $335 Court filing fee                         $335                   $5,335.00

                Email or website address
                jsb@kutnerlaw.com

                Who made the payment, if not debtor?
                UCXTRA Services Colorado, LLC
                (through Rocky Mountain
                Physicians via BD2 Companies, LLC



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                Dates transfers           Total amount or
                                                                                                                      were made                          value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                            Description of property transferred or                  Date transfer          Total amount or
               Address                                           payments received or debts paid in exchange             was made                        value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To
       14.1.    8350 East Raintree Drive                                                                                   April 26, 2017 to May 22, 2019
                Suite 130
                Scottsdale, AZ 85260

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.




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                 Facility name and address                       Nature of the business operation, including type of services           If debtor provides meals
                                                                 the debtor provides                                                    and housing, number of
                                                                                                                                        patients in debtor’s care
       15.1.     See Statement of Financial
                 Affairs
                 Exhibit 15
                                                                 Location where patient records are maintained (if different from       How are records kept?
                                                                 facility address). If electronic, identify any service provider.
                                                                 See UCXTRA Services, LLC: Statement of Financial                       Check all that apply:
                                                                 Affairs
                                                                                                                                           Electronically
                                                                                                                                           Paper


 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

                  Patient Records - HIPPA Compliance Documents
                  Does the debtor have a privacy policy about that information?
                    No
                      Yes

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was               Last balance
               Address                                           account number           instrument                  closed, sold,              before closing or
                                                                                                                      moved, or                           transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                       Names of anyone with                 Description of the contents             Do you still
                                                                     access to it                                                                 have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.




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          None

       Facility name and address                                     Names of anyone with                 Description of the contents        Do you still
                                                                     access to it                                                            have it?
       Public Storage - Unit #01915                                  Brendon Lochert                      Exerior Signage                        No
       5212 South Parker Road                                        Brenton Smith                        Building Materials                     Yes
       Centennial, CO 80015                                                                               Flooring
                                                                                                          Artwork



 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                 Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known    Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known    Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.



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          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.1.    UCXTRA Services, LLC                             Urgent care facilities in Colorado               EIN:         XX-XXXXXXX
                                                                                                               From-To      April 2017 to August 2019

    25.2.    UCXTRA Umbrella, LLC                             Ownership of office equipment,                   EIN:         XX-XXXXXXX
                                                              medical equipment for urgent care
                                                              business                                         From-To      April 2018 to August 2019


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       See Statement of Financial Affairs
                    Exhibit 26(a)


    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.1.       Brenton Smith                                                                                                              April 26, 2017 to
                    14747 North Northsight Blvd.                                                                                               February 25, 2019
                    Suite 111-464
                    Scottsdale, AZ 85260
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.2.       Pendulum Partners                                                                                                          January 22, 2019 to
                    10635 NE 8th Street                                                                                                        July 31, 2019
                    Suite 201
                    Bellevue, WA 98004

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Brenton Smith                                                                            Senior secured lender (Expermedical Group,
                    14747 North Northsight Blvd.                                                             LLC) took over operations on 2/25/19 and is
                    Suite 111-464                                                                            in possession of transaction records.
                    Scottsdale, AZ 85260

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address




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       Name and address
       26d.1.       Expermedical Group
                    10051 East Dynamite Blvd.
                    Suite G140
                    Scottsdale, AZ 85262
       26d.2.       See Expermedical records
                    for additional financials distributed

       26d.3.       First Capital 360
                    a/k/a Forward Financing, LLC
                    100 Summer St.
                    Suite 1175
                    Boston, MA 02110
       26d.4.       Complete Business Solutions Group, LLC
                    22 N 3rd Street
                    Philadelphia, PA 19106
       26d.5.       Fox Capital Group, Inc.


       26d.6.       Libertas Funding, LLC
                    382 Greenwich Avenue
                    Greenwich, CT 06830
       26d.7.       Queen Funding, LLC
                    101 Chase Avenue
                    Suite 207
                    Lakewood, NJ 08701
       26d.8.       High Speed Capital, LLC
                    116 Nassau Street
                    Suite 804
                    New York, NY 10038
       26d.9.       Cedar Advance, LLC



27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Brendon Lochert                                                                                    Shareholder through personal          +/- 43.5%
                                                                                                          interest in entities (BD2
                                                                                                          Companies, LLC and BAMFS
                                                                                                          Enterprises)
       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Brenton Smith                                                                                      Shareholder through personal          +/- 18.2%
                                                                                                          interest in entities (BD2
                                                                                                          Companies, LLC and Brenton
                                                                                                          Scott, LLC)

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       Name                                           Address                                             Position and nature of any         % of interest, if
                                                                                                          interest                           any
       Expermedical Group, LLC                                                                            Manager, controlled                17.3%
       (Bill Hansen)                                                                                      operations as of 2/2019



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.

       Name                                           Address                                             Position and nature of any     Period during which
                                                                                                          interest                       position or interest
                                                                                                                                         was held
       Sherry Metzler                                 10928 East Sebring Avenue                           COO                            4/2017-8/2019
                                                      Mesa, AZ 85212

       Name                                           Address                                             Position and nature of any     Period during which
                                                                                                          interest                       position or interest
                                                                                                                                         was held
       Brian Tateranko                                17126 East Rosebay Circle                           Chief Administrative           4/2017-8/2019
                                                      Parker, CO 80134                                    Officer

       Name                                           Address                                             Position and nature of any     Period during which
                                                                                                          interest                       position or interest
                                                                                                                                         was held
       Tyrone Hanks                                   924 North Constellation Way                         Chief Medical Director         4/2017-1/2019
                                                      Gilbert, AZ 85234

       Name                                           Address                                             Position and nature of any     Period during which
                                                                                                          interest                       position or interest
                                                                                                                                         was held
       Michael Polite                                 10207 East Stealth Avenue                           CEO                            4/2017-8/2018
                                                      Mesa, AZ 85212


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates           Reason for
                                                                 property                                                                providing the value
       30.1                                                                                                              Within a year
       .    Brendon Lochert                                                                                              prior to
                                                                 $6,200 (approx)                                         Petition Date

               Relationship to debtor
               Shareholder, manager


       30.2                                                                                                              Within a year
       .    Brenton Smith                                                                                                prior to
                                                                 $6,200 (approx)                                         Petition Date   Services

               Relationship to debtor
               Shareholder, guarantor,
               accounting services



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               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.3                                                                                                                                Payments on
       .    Expermedical Group, LLC                                                                                                        account of senior
                                                                 Various payments                                        Unknown           secured debt

               Relationship to debtor
               Shareholder


       30.4                                                                                                                                Pursuant to
       .                                                                                                                                   Pledge Agreement
                                                                                                                                           between UCMS
               Expermedical Group, LLC                           Shares of UCMS received in exchange for                                   and Expermedical
                                                                 the advance of funds.                                   Various           Group, LLC

               Relationship to debtor
               Shareholder


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation
    Urgent Care Management Solutions, LLC                                                                      EIN:        XX-XXXXXXX

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation
    Urgent Care Management Solutions, LLC 401K                                                                 EIN:        0942/16038254

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         October 1, 2019

 /s/ Brendon Lochert                                                    Brendon Lochert
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Manager

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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                                                               United States Bankruptcy Court
                                                                      District of Colorado
 In re      Urgent Care Management Solutions, LLC                                                  Case No.
                                                                                Debtor(s)          Chapter    7




                                               VERIFICATION OF CREDITOR MATRIX


I, the Manager of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       October 1, 2019                                         /s/ Brendon Lochert
                                                                     Brendon Lochert/Manager
                                                                     Signer/Title




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